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AO OL (Rev. HAE) Criminal Compiaint
UNITED STATES DISTRICT COURT

for the
District of Idaho

 

 

 

United States of America )
v. )
David Orebaugh ) Case No.
4:20-mJ-00325-CWD
)
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 19, 2020 in the county of Canyon in the
CO istrict of... Idaho , the defendant(s) violated:
Code Section Offense Description
24 U.S.C. § 841(a)(1), ()(1)(A) Possession with intent to Distribute Methamphetamine

 

 

This criminal complaint is based on these facts:

See attached affidavit of Task Force Officer Joel Garcia

& Continued on the attached sheet. ,
———

/ Complainant's signature

TFO Joel Garcia
Printed name and title :

Per Rule 4.1, Gantends ategted FO -- |
Sworn by telephone. aac, S wes ee 5 Bech eluedven cal ly

  
   

Judge's signature

Date: 41/20/2020

Boise, Idaho Candy W. Dale, United States Magistrate Judge
Printed name and title

City and state:

 

 

 

 

 
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AFFIDAVIT

I, Joel Garcia, being first duly sworn on oath, deposes and says: I am a Task Force
Officer with the United States Drug Enforcement Administration (DEA), and have been
so employed since June of 2017. I am currently assigned to the Seattle Field Division,
Boise District Office. As a Task Force Officer, ] am responsible for the enforcement of
the laws pertaining to Title 21 of Controlled Substance Act.

2. I have received specialized training in the enforcement and investigation
of Title 21 and the Controlled Substance Act. I have received classroom training,
including, but not limited to, drug identification, drug interdiction, detection, money
laundering techniques and schemes, smuggling and the investigation of individuals
and/or organizations involved in the illegal possession, possession for sale, sales,
importation, smuggling, cultivation, manufacturing and illicit trafficking of controlled
substances. |

3. I am also a Detective for the Nampa Police Department where I am
assigned to the Special Investigations unit. I have been assigned as a Detective with the
Special Investigations Unit since June of 2011, where I have participated in large scale,
international, complex conspiracy investigations involving narcotics and dangerous
drugs. I have written and participated in numerous search and seizure warrants for
narcotics and dangerous drugs, and the records, books and proceeds derived as aresult of
this illicit activity.

4, The subsequent information contained in this affidavit is based upon my
personal participation in this investigation, including examination of reports, as well as
information related to me by other federal agents and local police officers participating in
this investigation.

a.) In October 2020, Nampa Police Special Investigations Unit and Boise DEA

began a drug investigation on David Orebaugh (06-25-74) with phone number

(530) 448-0186. Detective Woodward verified Orebaugh as the subscriber of
the phone number through a law enforcement database.

b.) On November 7, 2020, A Nampa Police Confidential Informant, hereafter
referred to as Nampa CI, informed Detective Woodward that Orebaugh had
changed his phone number to (619) 642-6780.

 
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c.) On November 13, 2020, The Nampa CI, under the direction and control of

Detective Woodward, introduced Detective Woodward, while working in an
undercover capacity, to Orebaugh via a three-way phone call. During the
phone call Orebaugh identified himself to Detective Woodward as “Dave”
Detective Woodward arranged, via phone call and text messages, to purchase
13 pounds of methamphetamine from Orebaugh. Orebaugh agreed to accept
$60,000 as payment for the methamphetamine. Orebaugh also mentioned he
was going to send one pound of methamphetamine for Nampa CI.

d.) On November 14, 2020, Orebaugh confirmed with Detective Woodward that

he was going to send a total of 14 pounds of methamphetamine.

e.) Detective Woodward through communication, via phone call and text

£)

messages, with Orebaugh was able to confirm that Orebaugh was sending two
couriers with the 14 pounds of methamphetamine to Idaho from the San Diego
area. Orebaugh informed Detective Woodward that he would fly into Boise
ahead of the couriers. Orebaugh informed Woodward that he would arrive to
Boise on November 18, 2020 and the couriers would arrive on November 19,
2020. Orebaugh informed Detective Woodward that the couriers would be a
male and female driving a truck with Idaho license plates.

On November 18, 2020, TFO Garcia observed Orebaugh exit the Boise
Airport and arrive to the Simple Suites in Boise Idaho.

g.) On November 19, 2020, surveillance was established at the Simple Suites by

the Nampa Police Special Investigations Unit and Boise DEA Agents.
Detective Woodward was informed by Orebaugh that he was going to meet
the couriers in Nampa for lunch and then would meet with Detective
Woodward to complete the methamphetamine transaction.

h.) The surveillance team followed Orebaugh from the Simple Suites to the

Popeyes located in Nampa, Idaho. TFO Garcia observed Orebaugh meet with
William Michael Huston (08-24-56) and Sonya K Schram (05-18-71) TFO
Garcia observed as Schram, Huston, and Orebaugh entered a white Ford F-
150 bearing Idaho license plate K615213 that was parked in the Popeyes
parking lot.

Nampa Police Officer Schouman initiated a traffic stop on the Ford for a turn
signal violation in Nampa, Idaho. Nampa Police Officer Berrier arrived to the
traffic stop and deployed his certified drug detection K-9 to conduct a free air
sniff of the Ford. Officer Berrier obtained a positive alert on the Ford for the
presence of an odor emitting from an illicit narcotic. A search of the Ford
ensued and revealed a red backpack containing 14 wrapped packages. Officer
Berrier opened one of the packages and observed a plastic Ziploc bag
containing a white crystal substance.

 
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j.) Nampa Police Officers detained and transported Orebaugh, Huston, and

k.)

Schram to the Nampa Police Department. Orebaugh, Huston, and Schram
were each placed in interview rooms.

l advised Orebaugh that there was a large amount of methamphetamine
located in the Ford. I then advised Orebaugh of his Miranda Rights to which
he advised he understood. Orebaugh informed me that he wanted legal
representation prior to speaking with me. I ended my interview of Orebaugh
and began my interview of Schram.

I advised Schram that there was a large amount of methamphetamine located
in the Ford and then advised Schram of her Miranda Rights. Schram decided
to speak to me and informed me that she traveled to Idaho with William
Michael Huston from San Diego. Schram said they departed from San Diego
last night at approximately 2000 hours. Schram said that Huston decided to
travel with her and that she came to Idaho to visit family. Schram said Huston
informed her that he was going to meet a friend at Popeyes. Schram then said
that she did not meet Huston's friend because after she finished her lunch at
Popeyes she walked out to the Ford. Schram said she received a text message
from Huston instructing her to move the backpack in the back to the front.
Schram said she asked Huston which one "yours" or the other one and that ,
Huston told her the other one. Schram showed me the text messages and I
confirmed that Huston did instruct her to move that backpack. Schram then
informed me that she had traveled from San Diego to Idaho to purchase a gun.
Schram said she had $2,100 to purchase a gun. Schram said she did not have a
specific gun she was going to purchase. Schram said that Huston and she were
also going to travel back to San Diego once she purchased her gun.

m.)1 was then informed by Sgt. Huston that Orebaugh had changed his mind and

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wanted to speak to me. I walked into the interview room and informed
Orebaugh that I would only be able to speak to him if he confirmed he did not
want an attorney present for the conversation. Orebaugh informed me that he
changed his mind and did want an attorney. I walked out of the interview at
this time.

Set. Huston interviewed Huston and advised him of his Miranda Rights, to
which he said he understood his rights. Huston informed Sgt. Huston that he
met Orebaugh for the first time at Popeyes and had asked Orebaugh if he
needed a ride. Huston also informed Sgt. Huston that he did shove a
methamphetamine pipe down his pants when he was stopped by the police.
Sgt. Huston asked Huston if'a search warrant was obtained for his phone
would there be phone contact with Orebaugh. Huston informed Sgt. Huston
that there would be contact in his phone with Orebaugh.

Set. Huston again informed me that Orebaugh had changed his mind again

 
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and wanted to speak to me. I walked into the interview room and informed
Orebaugh that I was unable to speak to him because he had requested an
attorney. Orebaugh informed me that he did not want an attorney present and
wanted to speak to me. Orebaugh said he wanted to do the right thing.
Orebaugh said he had been shot in Las Vegas approximately three years ago
and because of his injuries he was unable to work. Orebaugh said because he
was unable to work and had to take care of his father, he decided to
middleman the methamphetamine deal. Orebaugh said he was going to be
paid $15,000 for the methamphetamine deal. Orebaugh said he obtained the
methamphetamine from San Diego but did not know-how it arrived to Idaho.
Orebaugh continued to say that he flew into Idaho yesterday and did not bring

_the methamphetamine with him on the plane. Orebaugh said he met Huston
for the first time today.

p.) informed Orebaugh and Schram that they were going to jail for trafficking
methamphetamine. Orebaugh, Huston, and Schrum were booked into the
Canyon County Jail for Trafficking Methamphetamine.

q.) Detective Woodward utilized a NIK Test U kit to test the white crystal
substance and obtained a presumptive positive indication for
methamphetamine. Detective Woodward obtained a total package weight of
456.1 grams for the suspected methamphetamine. The total package weight of
the 14 packages is 6,643.7 grams.

tr.) Through my training and experience I know that 6,643.7 grams of
methamphetamine is not a user amount. The dosage unit for
methamphetamine is .3 grams although heavy users could use more per
dosage unit.

5. David J OREBAUGH a white male born on June 25", 1974.

6, Based upon the aforementioned information, I believe probable cause exists that
David OREBAUGH, has committed the offense of possession with intent to distribute
methamphetamine in violation of 21 U.S.C. § 841(a)(1), (b)(1)(A), and submit this
affidavit in support of a criminal complaint and warrant charging them with such a

violation.

 
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Subscribed and sworn to before me this,

Garcia.

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JoeY Garcia, Task Force Officer
Drug Enforcement Administration

© day of November, 2020, by TFO Joel

       

The Hon. Candy W. Dale
United States Magistrate Judge
District of Idaho

 

 
